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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  JEFFREY HULSE;
  KELLY MCCAIN; and
  T.H., a minor, by and through his father, Jeffrey Hulse,

         Plaintiffs,
  v.

  ADAMS COUNTY, COLORADO;
  MICHEL MILLER, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity;
  CHRISTOPHER GRUENBERGER, Officer in the Adams County Sheriff’s Office, in his
  individual and official capacity;
  DAVID LEHRKE, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity;
  JEFFREY STOVAL, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity;
  JAI ROGERS, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity;
  DEREK DUMMAR, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity;
  SCOTT MILLER, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity;
  PAUL SISKA, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity;
  DILLON LUSSIER, Officer in the Adams County Sheriff’s Office, in his individual and official
  capacity; and
  DOUGLAS N. DARR, Adams County Sheriff, in his individual and official capacity,

         Defendants.

  ______________________________________________________________________________

                  PLAINTIFFS’ COMPLAINT AND JURY DEMAND
  ______________________________________________________________________________
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          Plaintiffs, JEFFREY HULSE, KELLY MCCAIN, and T.H., 1 by and through counsel,

  Darold W. Killmer and Michael P. Fairhurst of KILLMER, LANE & NEWMAN, LLP, respectfully

  allege for their Complaint and Jury Demand as follows:

                                           I.     INTRODUCTION

          1.      Under the Fourth Amendment to the United States Constitution, “a man's home is

  his castle [to the point that t]he poorest man may in his cottage bid defiance to all the forces of

  the Crown.” Georgia v. Randolph, 547 U.S. 103, 126 (2006) (alterations in original) (internal

  quotation marks omitted). “We have … lived our whole national history with an understanding

  of [that adage].” Id.

          2.      Adams County Sheriff’s Office (“ACSO”) officers, however, disregarded this and

  other clearly established law that lies at the core of the Fourth Amendment’s protections by

  arbitrarily storming into Plaintiffs’ home – and their bedrooms – during the middle of the night

  on April 6, 2013, and then dragging Plaintiffs Hulse and McCain outside and brutally beating

  them, despite lacking any circumstances, exigent or otherwise, to justify their patently

  unreasonable conduct.

          3.      Plaintiffs therefore bring this action for ACSO’s violations of their Fourth and

  Fourteenth Amendment rights to be free from unreasonable searches and seizures, and for

  Adams County’s inexcusable failure to discipline or otherwise respond appropriately to ACSO

  officers’ manifestly unlawful actions at Plaintiffs’ home during the night of April 6, 2014.

                                     II.        JURISDICTION AND VENUE

          4.      This action arises under the Constitution and laws of the United States and the

  State of Colorado, and is brought pursuant to Title 42 U.S.C. § 1983.
  1
   In order to protect the privacy of Plaintiff T.H., a minor, he will be referred to throughout this Complaint
  by the initials of his first and last name.
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          5.      Jurisdiction is conferred on this Court pursuant to 28 U.S.C. § 1331.

          6.      Jurisdiction supporting Plaintiffs’ claims for attorney fees and costs is conferred

  by 42 U.S.C. § 1988.

          7.      Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

  of the events alleged herein occurred within the State of Colorado, and all of the parties were

  residents of the State at the time of the events giving rise to this litigation.

                                            III.     PARTIES

          Plaintiffs

          8.      Plaintiff Kelly McCain is a citizen of the United States and was at all times

  relevant hereto a resident of and domiciled in the State of Colorado.

          9.      Plaintiff Jeffrey “Jeff” Hulse is a citizen of the United States and was at all times

  relevant hereto a resident of and domiciled in the State of Colorado.

          10.     Plaintiff T.H., a minor, is a citizen of the United States and was at all times

  relevant hereto a resident of and domiciled in the State of Colorado. Plaintiff T.H. is the child of

  Plaintiff Jeffrey Hulse.

          Sheriff Defendants

          11.     Defendant Adams County, Colorado is responsible for the supervision, training,

  official polices, customs, and actual practices of the Adams County Sheriff’s Office.

          12.     Defendant Michel Miller is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant M.

  Miller 2 was acting under color of state law as an ACSO officer. Upon information and belief,



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   Since there are two named Defendants surnamed Miller, they will be referred to herein as “M. Miller”
  and “S. Miller.”
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  Defendant M. Miller was one of the ACSO officers who participated in the unlawful searches

  and seizures described herein.

         13.     Defendant Christopher Gruenberger is a citizen of the United States and a resident

  of and domiciled in the State of Colorado. At all times relevant to the claims against him,

  Defendant Gruenberger was acting under color of state law as an ACSO officer. Upon

  information and belief, Defendant Gruenberger was one of the ACSO officers who participated

  in the unlawful searches and seizures described herein.

         14.     Defendant David Lehrke is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant

  Lehrke was acting under color of state law as an ACSO officer. Upon information and belief,

  Defendant Lehrke was one of the ACSO officers who participated in the unlawful searches and

  seizures described herein.

         15.     Defendant Jeffrey Stoval is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant

  Stoval was acting under color of state law as an ACSO officer. Upon information and belief,

  Defendant Stoval was one of the ACSO officers who participated in the unlawful searches and

  seizures described herein.

         16.     Defendant Jai Rogers is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant

  Rogers was acting under color of state law as an ACSO officer. Upon information and belief,

  Defendant Rogers was one of the ACSO officers who participated in the unlawful searches and

  seizures described herein.



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         17.     Defendant Derek Dummar is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant

  Dummar was acting under color of state law as an ACSO officer. Upon information and belief,

  Defendant Dummar was one of the ACSO officers who participated in the unlawful searches and

  seizures described herein.

         18.     Defendant Scott Miller is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant S.

  Miller was acting under color of state law as an ACSO officer. Upon information and belief,

  Defendant S. Miller was one of the ACSO officers who participated in the unlawful searches and

  seizures described herein.

         19.     Defendant Paul Siska is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant

  Siska was acting under color of state law as an ACSO officer. Upon information and belief,

  Defendant Siska was one of the ACSO officers who participated in the unlawful searches and

  seizures described herein.

         20.     Defendant Dillon Lussier is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant

  Lussier was acting under color of state law as an ACSO officer. Upon information and belief,

  Defendant Lussier was one of the ACSO officers who participated in the unlawful searches and

  seizures described herein.

         21.     Defendant Douglas N. Darr is a citizen of the United States and a resident of and

  domiciled in the State of Colorado. At all times relevant to the claims against him, Defendant

  Darr was acting under color of state law as the Adams County Sheriff. Defendant Darr is

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  responsible for the supervision, training, official polices, customs, and actual practices of agents

  of the Adams County Sherriff’s Office.

                                    IV.     FACTUAL ALLEGATIONS

          The 3:30 a.m. Incidents

          22.    At approximately 3:30 a.m. on April 6, 2013, Jeff Hulse, Ms. McCain, and Jeff

  Hulse’s son, T.H., were soundly sleeping in their home located at 2041 W. 74th Ave. in Denver

  when Ms. McCain suddenly awoke to loud banging at her front door.

          23.    Startled and scared, Ms. McCain leapt out of bed, threw on a bathrobe, and

  answered the front door by cracking it open a few inches.

          24.    To Ms. McCain’s great surprise, Adams County Sheriff’s Deputies were standing

  on her porch, including, but not limited to, Defendants Jeffrey Stoval, Christopher Gruenberger

  and David Lehrke.

          25.    However, none of the officers identified themselves as law enforcement.

          26.    Instead, Defendant Stoval asked Ms. McCain if anybody had been shooting in her

  yard.

          27.    ACSO officers had been dispatched to Mr. Hulse and Ms. McCain’s residence

  because two individuals from a neighboring house had called 911, falsely reporting that Mr.

  Hulse was firing a “.357” revolver into the air and at animals from Mr. Hulse’s and Ms.

  McCain’s yard. The callers also stated that the shooter's wife or girlfriend was trying to get the

  shooter back into the house.

          28.    Bewildered by the presence of ACSO deputies, Ms. McCain replied that she had

  been in bed sleeping and had no idea what Defendant Stoval was referencing.



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           29.   Defendant Stoval nonetheless asked Ms. McCain if he and other officers could

  come inside her home.

           30.   Ms. McCain unequivocally replied “no.”

           31.   Immediately thereafter, Defendant M. Miller (the commanding Sergeant)

  instructed the ACSO deputies on scene, including, but not limited to, Defendants Derek

  Dummar, Jai Rogers, Scott Miller, Paul Siska, Stoval, Gruenberger and Lehrke, to enter the

  home of Ms. McCain and Mr. Hulse.

           32.   Despite having no search warrant or Ms. McCain’s consent, or any other legal

  basis to enter the home, Defendant Stroval pushed Ms. McCain to the side, and he and several

  other ACSO officers entered her home with their guns drawn, and proceeded to search the entire

  house.

           33.   There were no exigent circumstances that could have justified the deputies’

  warrantless search of Plaintiffs’ home.

           34.   During their search, gun-wielding ACSO deputies burst in Plaintiff T.H.’s

  bedroom, where he had been sleeping, flipped on the lights, and commanded him to stay in his

  room.

           35.   Terrified, T.H. complied with the command.

           36.   ACSO deputies then twice returned to T.H.’s room during their search of

  Plaintiffs’ home to demand that he tell them where the revolver was located.

           37.   During their intrusive, protracted, and manifestly unreasonable search of

  Plaintiffs’ home, the deputies entered the master bedroom, where they observed Mr. Hulse

  sleeping, and flipped on the lights.



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         38.     Mr. Hulse awoke to an ACSO deputy holding a gun to his head, who, without

  identifying himself, commanded, “Put your hands behind your back, and don’t move.”

         39.     Mr. Hulse complied and an officer handcuffed him.

         40.     The deputies then asked Mr. Hulse if he had been shooting a gun outside in his

  yard, and inquired where his guns were located.

         41.     Mr. Hulse told the deputies that he lawfully possessed firearms in his home, but

  had not been shooting any guns earlier that night.

         42.     The deputies persisted in interrogating Mr. Hulse (without advising him of his

  Miranda rights) and threatened to subject him to a gunshot residue test.

         43.     Mr. Hulse agreed to the test, but the deputies never administered it.

         44.     Understandably confused by the presence of police deputies in his home in the

  middle of the night, Mr. Hulse also repeatedly questioned the deputies about why they were in

  his house.

         45.     Meanwhile, ACSO deputies aggressively and very roughly pulled Ms. McCain

  from the interior threshold of her front door to the middle of her front yard and then, upon

  information and belief, Defendant Gruenberger kneed her in the middle of her back, and a deputy

  (or deputies) forcefully handcuffed her – all without any conceivable justification, and without

  advising her of her Miranda rights. One neighbor reported that the ACSO deputies deployed a

  stun taser on Ms. McCain.

         46.     Ms. McCain’s bathrobe also came undone during this needlessly violent episode,

  leaving the front side of her body naked and publicly exposed.

         47.     When deputies forced Ms. McCain back up to her feet, her largely unclothed body

  was thus on vivid display to all the deputies outside and her next-door neighbors who were

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  watching the events from inside their home (and who had reported to a 911 operator that ACSO

  deputies tasered Ms. McCain).

          48.     Ms. McCain, who was terrified, suffered the additional indignity of soiling herself

  as a result of the deputies’ brutal conduct towards her.

          49.     ACSO deputies nonetheless paraded Ms. McCain in handcuffs around her yard

  and onto her neighbor’s property without giving her a chance to clean herself, and with the naked

  front side of her body still visible.

          50.     Because of ACSO deputies’ excessive use of force against Ms. McCain, she

  sustained significant physical and other injuries, including, but not limited to, deep bruises on her

  back, left shoulder, and hand, and ongoing, severe neck and back pain and limited range of

  motion in her left shoulder, in addition to significant emotional and mental pain, stress,

  humiliation, and loss of dignity and privacy.

          51.     Ms. McCain was not charged with any criminal offense for her conduct on April

  6, 2013.

          52.     However, ACSO Detective Michael Ostrander revoked Ms. McCain’s carry

  concealed hand gun permit because of the incidents of April 6.

          53.     ACSO deputies also did not locate any spent shell casings on Plaintiffs’ property

  despite conducting (warrantless) searches of the interior of their home and the inside of Mr.

  Hulse’s vehicle, along with Plaintiffs’ yard.

          54.     The deputies left Plaintiffs’ home (for the first time) at approximately 4:15 a.m.

          55.     The events that occurred at Plaintiffs’ home between approximately 3:30 a.m. and

  4:15 a.m. on April 6, 2013, summarized above, will be referred to herein as the “3:30 a.m.

  Incidents.”

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         The 4:45 a.m. Incidents

         56.     At approximately 4:45 a.m. on April 6, 2013, Plaintiffs were still awake and

  talking in the kitchen, severely shaken from their recent encounter with ACSO deputies, when

  they heard tapping on windows around their home.

         57.     Ms. McCain went into her living room, where she observed a man with a gun in

  their driveway through the window, and told Mr. Hulse. She then stood on her couch, opened the

  window, and asked the man outside what he was doing. It was still dark outside, as sunrise had

  not arrived.

         58.     Meanwhile, Mr. Hulse instructed T.H. to call 911while he went to retrieve a

  pistol, thinking that burglars had surrounded the house and were trying to break in.

         59.     He was concerned for the safety of himself and his family.

         60.     T.H. and Ms. McCain were also terrified by the presence of unidentified strangers

  outside their home tapping their windows in the middle of the night.

         61.     Mr. Hulse entered his living room with a pistol in hand and stepped up to the

  window alongside Ms. McCain, where he observed the armed gunman outside pointing a gun at

  Ms. McCain and him.

         62.     The gunman shouted at Mr. Hulse to “drop the gun!” and Mr. Hulse responded

  “drop your gun!” The gunman demanded “drop your gun now!,” at which point Ms. McCain

  asked “Are you the police?”

         63.     Only then did the gunman identify himself as a police deputy.

         64.     Mr. Hulse immediately lowered his weapon, stepped out of the window, and

  placed the weapon back in his bedroom.



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         65.     Prior to this moment, Mr. Hulse had no way to know that police deputies were

  outside his home.

         66.     Mr. Hulse reasonably assumed that real deputies who would be on his property

  would have made their presence known by knocking on his door and immediately identifying

  themselves, not tapping on his windows from the yard and then pointing a gun (or guns) at Ms.

  McCain and him.

         67.     Additionally, while Mr. Hulse could see that an individual standing outside his

  window was pointing a firearm at Ms. McCain and him, it was not apparent that he was wearing

  an official uniform.

         68.     Consequently, Mr. Hulse pointed his pistol through the living room window to try

  to scare away the people outside who he logically perceived to be dangerous criminals.

         69.     Upon information and belief, and based on facts discovered subsequent to the

  standoff described above, ACSO deputies including, but not limited to, Defendants Dillon

  Lussier, Dummar, Rogers, S. Miller, Siska, Stoval, Gruenberger and Lehrke were dispatched to

  Mr. Hulse’s and Ms. McCain’s home following the 3:30 a.m. Incidents in response to another

  baseless 911 call from the same next-door neighbors who earlier reported that a firearm had been

  discharged on Ms. McCain and Mr. Hulse’s yard. This time, the neighbor falsely reported that

  Mr. Hulse had recently caused a verbal disturbance outside his home.

         70.     After Mr. Hulse deposited his weapon in his bedroom, he went to the front door

  and opened the metal security door with his left hand while putting his right hand in the air.

         71.     Even though both Mr. Hulse’s empty hands were visible to at least some of the

  ACSO deputies on scene, an ASCO deputy came onto Mr. Hulse’s unenclosed front porch,



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  reached across the threshold into the house, and physically jerked him outside from the interior

  of his home.

         72.     Thereafter, ACSO deputies repeatedly punched Mr. Hulse in the torso and

  slammed his body to the ground, cracking his ribs, injuring his neck and shoulder, and causing

  several deep bruises (among other physical and non-physical injuries).

         73.     After handcuffing Mr. Hulse on the ground, deputies pulled him back onto his

  feet and led him to a patrol car, where, upon information and belief, Defendant Lehrke smashed

  Mr. Hulse’s head into the car several times while he was restrained by handcuffs, resulting in

  significant injuries, including a broken front tooth.

         74.     Once again, the deputies failed to advise Mr. Hulse of his Miranda rights when

  arresting him. ACSO ultimately transported Mr. Hulse to the Adams County Detention Facility

  despite lacking an arrest warrant, or probable cause to believe that he had violated any laws.

         75.     Upon information and belief, Defendant Rogers was Mr. Hulse’s arresting officer.

         76.     While Mr. Hulse was beaten and arrested outside his home, Ms. McCain

  remained in her living room.

         77.     During this time, ACSO deputies entered her home without her consent or a

  search warrant, or any other legal justification, commanded her not to leave the room, and

  pointed their guns at her even though she was clearly unarmed, and presented no danger or threat

  to them.

         78.     ACSO officers then paraded through Plaintiffs’ home with their guns drawn,

  during which time an officer flipped the light on in T.H.’s room, where he was lying in bed,

  commanded T.H. not to leave the room, and closed the door.

         79.     Terrified, T.H. complied with the officers’ command.

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         80.     Thereafter, deputies harassed, intimidated, and coerced Ms. McCain in an attempt

  to force her to provide false statements against Mr. Hulse, and without advising her of her

  Miranda rights. Deputies eventually left her home at approximately 5:30 a.m. that morning.

         81.     The events that occurred at Plaintiffs’ home between approximately 4:45 a.m. and

  5:30 a.m. on April 6, 2013, summarized above, will be referred to herein as the “4:45 a.m.

  Incidents.”

         82.     ACSO Detective Mark Michieli prepared the probable cause affidavit to support

  Mr. Hulse’s warrantless – and baseless – arrest.

         83.     In so doing, Michieli conspired and acted in concert with the other ACSO

  deputies who were present at Mr. Hulse’s and McCain’s home on April 6, 2013 to falsely accuse

  Mr. Hulse and Ms. McCain of engaging in wrongful conduct on that night which they clearly did

  not commit, and to deliberately omit and distort the facts relating to the ACSO’s conduct towards

  Mr. Hulse and McCain, in an effort to cover up ACSO’s violations of Mr. Hulse’s, Ms.

  McCain’s, and T.H.’s clearly-established constitutional rights.

         84.     Adams County’s abuse of Mr. Hulse continued even after he was taken to jail.

  While awaiting his release on bond, Mr. Hulse repeatedly asked deputies on site and jail staff for

  medical attention to address the injuries he sustained from ACSO deputies’ excessive use of

  force against him earlier that night. All his requests were denied.

         85.     As a result of the ACSO’s deliberately false representations of Mr. Hulse’s

  conduct on April 6, 2013, he was charged with two counts of Assault on a Peace Officer in the

  First Degree (18-3-202(1)(e), C.R.S.), two counts of felony Menacing (18-3-206(1)(a)/(b),

  C.R.S.) and two counts of Harassment (18-9-111(1)(h), C.R.S.).



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            86.   Mr. Hulse had no choice but to retain and pay for the services of a criminal

  attorney to defend himself against Defendants’ and the State’s meritless charges.

            87.   Subsequently, Mr. Hulse reluctantly accepted a plea deal from the State, and pled

  guilty to two counts of prohibited use of a firearm.

            88.   Mr. Hulse entered into this deal despite having never committed this or any other

  criminal offense on April 6, 2013 because he rationally concluded that the slight possibility of a

  jury convicting him of a felony (or felonies), notwithstanding his innocence, was too serious a

  risk to take.

            89.   Upon information and belief, Defendant Adams County and Defendant Darr has

  failed to properly hire, train, supervise, and/or discipline any of its subordinate employees and

  agents who participated in the aforementioned events of April 6, 2013, despite the obvious need

  for scrutiny in hiring and specialized training, supervision and discipline regarding such

  decisions, and the fact that its current custom, policies, or practices with respect to hiring,

  training, supervision, and/or discipline are clearly likely to result in a violation of constitutional

  rights.

                         V.      STATEMENT OF CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF
                         42 U.S.C. § 1983 – Fourth Amendment Violation –
                                  Unlawful Search – All Plaintiffs
                                      (Against All Defendants)

            90.   Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

            91.   Defendants were acting under color of state law in their actions and inactions

  which occurred at all times relevant to this action.

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         92.     Plaintiffs had protected Fourth Amendment interest against unreasonable

  governmental intrusion into their home.

         93.     Mr. Hulse had a protected Fourth Amendment interest against unreasonable

  governmental intrusion into his vehicle parked on his property.

         94.     Defendants, acting in concert with one another, twice entered and searched

  Plaintiffs’ home unlawfully.

         95.     Defendants, acting in concert with one another, also unlawfully entered and

  searched Mr. Hulse’s vehicle.

         96.     No Defendant had a warrant authorizing any such search of Plaintiffs’ home or

  Mr. Hulse’s vehicle.

         97.     Plaintiffs never consented to any of the searches of their home, and Mr. Hulse

  never consented to the search of his vehicle.

         98.     No legally recognizable circumstances, exigent or otherwise, existed which would

  have justified or permitted Defendants’ conduct.

         99.     Defendants’ actions were objectively unreasonable in light of the circumstances

  confronting them.

         100.    Defendants engaged in these actions intentionally, willfully, and wantonly.

         101.    Defendant Adams County and Defendant Darr failed to properly hire, train,

  supervise and/or discipline its employees regarding the proper basis for engaging in a search of a

  residence or vehicle, which contributed to the improper and unwanted searches of Plaintiffs’

  home and Mr. Hulse’s vehicle.




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          102.     This inadequate hiring, training, supervision, and or discipline results from a

  conscious or deliberate choice to follow a course of action from among various alternatives

  available to Defendant Adams County and Defendant Darr.

          103.     In light of the duties and responsibilities of Defendant Adams County personnel –

  who must make decisions regarding when Fourth Amendment searches are appropriate – the

  need for scrutiny in hiring and specialized training, supervision and discipline regarding such

  decisions is so obvious, and the inadequacy of appropriate hiring, training and/or supervision is

  so likely to result in a violation of constitutional rights, such as those described herein, that

  Defendant Adams County is liable for its failure to properly hire, train, supervise, and/or

  discipline its subordinate employees and agents.

          104.     Such failure to properly hire, train and supervise was the moving force behind and

  proximate cause of Defendants’ unreasonable search of Plaintiffs’ home and Mr. Hulse’s vehicle,

  and constitutes an unconstitutional policy, procedure, custom and/or practice.

          105.     Plaintiffs have been and continue to be damaged by Defendants’ unreasonable

  searches because such searches caused and causes them severe mental and emotional distress,

          106.     The acts or omissions of each Defendant, including the unconstitutional policy,

  procedure, custom and/or practice described herein, were the legal and proximate cause of

  Plaintiffs’ damages.

                                  SECOND CLAIM FOR RELIEF
                         42 U.S.C. § 1983 – Fourth Amendment Violation –
                 Unlawful Seizure and Excessive Force – Plaintiffs Hulse and McCain
                                      (Against All Defendants)

          107.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

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          108.    Defendants were acting under color of state law in their actions and inactions

  which occurred at all times relevant to this action.

          109.    Plaintiffs Hulse and McCain had a protected Fourth Amendment interest against

  unreasonable governmental seizures of their person, and against excessive force at the hands of

  law enforcement personnel.

          110.    No Defendants at any time had a legally-valid basis to seize Ms. McCain’s person

  during either the 3:30 a.m. or 4:45 a.m. Incidents.

          111.    No Defendants at any time had a legally-valid basis to seize Mr. Hulse’s person

  during the 3:30 a.m. Incidents.

          112.    Defendants unlawfully seized Ms. McCain by means of excessive physical force

  during the 3:30 a.m. Incidents and 4:45 a.m. Incidents.

          113.    Defendants unlawfully seized Mr. Hulse by means of excessive physical force

  during the 4:45 a.m. Incidents.

          114.    Defendants had no warrant authorizing any seizure of Mr. Hulse’s or Ms.

  McCain’s bodies.

          115.    No legally-recognizable circumstances, exigent or otherwise, existed which would

  have justified or permitted Defendants’ conduct.

          116.    Defendants’ actions were objectively unreasonable in light of the circumstances

  confronting them.

          117.    Defendants engaged in these actions intentionally, willfully, and wantonly,

  demonstrating deliberate indifference to the constitutionally- protected rights of all three

  Plaintiffs, and demonstrating a reckless disregard for the federally-protected constitutional rights

  of Plaintiffs herein.

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         118.    Defendant Adams County and Defendant Darr failed to properly hire, train,

  supervise, and/or discipline its ACSO employees regarding the proper use of physical restraint

  and force, resulting in Mr. Hulse’s and McCain’s unlawful seizures.

         119.    This inadequate hiring, training, supervision, and/or discipline resulted from a

  conscious or deliberate choice to follow a course of action from among various alternatives

  available to Defendant Adams County and Defendant Darr.

         120.    In light of the duties and responsibilities of Defendant Adams County personnel –

  who must make decisions regarding when forcible restraint and use of physical force is

  appropriate – the need for scrutiny in hiring and specialized training, supervision and discipline

  regarding such decisions is so obvious, and the inadequacy of appropriate hiring, training and/or

  supervision is so likely to result in a violation of constitutional rights, such as those described

  herein, that Defendant Adams County is liable for its failure to properly hire, train, supervise,

  and/or discipline its subordinate employees and agents.

         121.    Such failure to properly hire, train, supervise, and/or discipline was the moving

  force behind and proximate cause of Defendants’ unreasonable seizures of Mr. Hulse and Ms.

  McCain, and constitutes an unconstitutional policy, procedure, custom, and/or practice of

  Defendant Adams County.

         122.    Mr. Hulse and Ms. McCain have been and continue to be damaged by

  Defendants’ unreasonable seizures of them. They have endured and continue to endure severe

  mental and emotional distress, and were significantly physically injured by Defendants’ unlawful

  seizures.




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         123.    The acts or omissions of each Defendant described herein, including the

  unconstitutional policy, procedure, custom and/or practice described herein, were the legal and

  proximate cause of Mr. Hulse’s and Ms. McCain’s damages.

         WHEREFORE, Plaintiffs respectfully requests that this Court enter judgment in their

  favor and against Defendants, and award them all relief as allowed by law and equity, including,

  but not limited to the following:

             a. Declaratory relief and injunctive relief, as appropriate;

             b. Actual economic damages as established at trial;

             c. Compensatory damages, including, but not limited to those for past and future

                 pecuniary and non-pecuniary losses, emotional pain, suffering, inconvenience,

                 mental anguish, loss of enjoyment of life, medical bills, and other non-pecuniary

                 losses;

             d. Punitive damages for all claims as allowed by law in an amount to be determined

                 at trial;

             e. Issuance of an Order mandating appropriate equitable relief, including but not

                 limited to:

                      i. Issuance of a formal written apology from each Defendant to Plaintiffs;

                     ii. The imposition of policy changes designed to avoid future similar
                         misconduct by Defendants;

                    iii. Mandatory training designed to avoid future similar misconduct by
                         Defendants;

                    iv. An explicit prohibition against any retaliation against Plaintiffs;

                     v. Imposition of disciplinary action against appropriate employees of the
                        institutional Defendants;

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                  vi. The appropriate expungement of records;

           f. Pre-judgment and post-judgment interest at the highest lawful rate;

           g. Attorney’s fees and costs; and

           h. Such further relief as justice requires.

        PLAINTIFFS DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE.

        DATED this 12th day of September, 2014.

                                              KILLMER, LANE & NEWMAN, LLP

                                              /s/ Darold W. Killmer
                                              ___________________________
                                              Darold W. Killmer
                                              Michael P. Fairhurst
                                              1543 Champa St., Ste. 400
                                              Denver, CO 80202
                                              Phone: (303) 571-1000
                                              Facsimile: (303) 571-1001
                                              dkillmer@kln-law.com
                                              mnewman@kln-law.com
                                              mfairhurst@kln-law.com

                                              ATTORNEYS FOR PLAINTIFFS




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